            Case 1-17-43007-ess            Doc 45        Filed 11/30/18   Entered 12/03/18 09:24:57




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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IN RE:                                                              Chapter 13
                                                                    Case No. 17-43007-ess
ANGELA COVE,

                                    Debtor(s)
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                           PROPOSED ORDER GRANTING DEBTOR’S
                      APPLICATION FOR APPROVING LOAN MODIFICATION

          Upon the motion (the “Motion”) of the above Debtor, Angela Cove (the “Debtor”), by notice of

presentment dated October 22, 2018, seeking an Order to Approve Loan Modification between Debtor

and Creditor Caliber Home Loan; and, after due and sufficient notice, good cause having been shown and

no adverse interest being represented, it is hereby

          ORDERED, that the Motion is granted, and the Debtor may enter into the Loan Modification with

Caliber Home Loan attached as Exhibit A hereto to the Motion (the “Modification Agreement”); and it is

further

          ORDERED, that the Chapter 13 Trustee Marianne DeRosa (the “Trustee”) shall disburse funds

in the amount of $12,814.44 (equivalent to $2,135.74 x 6 months under the Modification Agreement) by

check payable to Caliber Home Loan Services, Inc., Attn: Loss Mitigation Modification, 13801 Wireless

Way, Oklahoma City, OK 73134, delivered by regular mail; and it is further

          ORDERED, that the Trustee shall not make any further payments on account of pre-petition

arrearage on the claim filed by U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust c/o

Caliber Home Loans, Inc. on October 3, 2017 in the total amount of $442,340.52, reflected as Claim No.

7 on the PACER Claims Register.


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      Dated: Brooklyn, New York                                                   Elizabeth S. Stong
             November 30, 2018                                             United States Bankruptcy Judge
